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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

 UNITED STATES OF AMERICA,                                CASE NUMBER: &52':

                                    PLAINTIFF,
                             v.
 ALEXANDER SMIRNOV,                                           WARRANT FOR ARREST
                                     DEFENDANT

 To: UNITED STATES MARSHAL AND ANY AUTHORIZED UNITED STATES OFFICER

 YOU ARE HEREBY COMMANDEDto arrest ALEXANDER SMIRNOV and

 bring him forthwith to 'LVWULFW-XGJH2WLV':ULJKW,, to answer an Indictment

 charging him with False Statement to Federal Law Enforcement, in violation of Title

 18, United States Code, Section 1001, and Creating a False or Fictitious Record, in

 violation of Title 18 United States Code, Section 1519.

 REC: Principal Senior Assistant Counsel Leo J. Wise
      Senior Assistant Special Counsel Derek H. Hines

 Brian D. Karth
 NAME OF ISSUING OFFICER                                      February , 2024           Los Angeles, CA

 TITLE OF ISSUING OFFICER
                  OFFIC                                       DATEAND LOCATION OF ISSUANCE

                                                        By:   Hon.2WLV':ULJKW,,
 SIGNATURE OF DEPUTY CLERK                                    NAME OF JUDICIAL OFFICER

                                                RETURN

 THIS WARRANT WAS RECEIVED AND EXECUTED WITH THE ARREST OF THE ABOVE-NAMED DEFENDANT AT (LOCATION)




 DATE RECEIVED                                                NAME OF ARRESTING OFFICER


 DATE OF ARREST                                               TITLE



 DESCRIPTIVE INFORMATION FOR DEFENDANT                        SIGNATURE OF ARRESTING OFFICER
 CONTAINED ON PAGE TWO




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